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In the Gites States Cour

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of Federal Claims

*
DOROTHY CATO, et al., :
Plaintiffs, *t

V * No. 18-1644C

" * Filed: October 26, 2018
UNITED STATES, =
*
Defendant. *
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ORDER

The court is in receipt of pro se plaintiffs’ complaint. Plaintiffs submitted the
complaint to the court without paying the $400.00 filing fee or submitting a completed
application to proceed in forma pauperis. As a result of this failure, the above-captioned
case is DISMISSED, without prejudice. The court also notes that plaintiffs’ handwritten

complaint submitted to the court was illegible.

IT IS SO ORDERED.

MARIAN BLANK HORN
Judge

 

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